Exhibit A
Journal of Child Sexual Abuse, 23:957–976, 2014
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ISSN: 1053-8712 print/1547-0679 online
DOI: 10.1080/10538712.2014.960632




   The Construct of Grooming in Child Sexual
   Abuse: Conceptual and Measurement Issues

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      There have been claims that some child molesters engage in a
      “seduction stage” prior to committing abuse. These behaviors, com-
      monly known as “grooming,” are understood as methods child
      molesters use to gain access to and prepare future victims to be com-
      pliant with abuse. However, there is a lack of consensus regarding
      exactly what this process entails and how it is clearly distinguished
      from normal adult–child interactions. It is important to devise an
      accurate definition of grooming for scientific, clinical, and forensic
      purposes. We critically evaluate the various definitions and reveal
      problematic heterogeneity. Furthermore, there are no methods of
      known psychometrics to validly assess grooming. We review the
      empirical literature regarding the occurrence of grooming and
      propose future directions for research.

      KEYWORDS grooming, child sexual abuse, measurement


Understanding the process of child sexual abuse (CSA) is important for both
its prevention and treatment. Some clinicians and researchers (e.g., Budin &
Johnson, 1989; Burgess & Holmstrom, 1980; Conte, Wolf, & Smith, 1989;
Elliott, Browne, & Kilcoyne, 1995) agree that a type of seduction stage,
commonly called “grooming” but also variously known as “entrapment,”
“engagement,” or “subjection” often precedes the actual sexual abuse.
Offenders have admitted that they use techniques such as identifying a par-
ticularly vulnerable child, gift giving, and sexual desensitization to prepare
the child for the abuse (Seto, 2008).
     Understanding grooming has both important clinical and legal implica-
tions. First, it is possible that if professionals were able to identify grooming

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before abuse has actually taken place the abuse may be prevented. Second,
in a forensic context, sexual abuse allegations might be partially substantiated
when it is established that grooming did indeed occur. However, without
a clear grooming definition and a valid way of measuring grooming, this
judgment that a behavior constitutes grooming becomes problematic. For
example, a recently convicted sex offender in Las Vegas, Nevada, is seeking
to appeal his conviction on the grounds that the testimony provided by a
psychologist regarding his grooming behavior is unreliable (Mower, 2012).
His defense attorney claimed that “[Grooming] is not a proven science. It’s
a behavioral thing. . . . How can you tell that this was in the mind of this
guy?”
      There have been attempts to criminalize grooming in several countries.
In the United States, a federal law (18 USC § 2252A(a)(6)) has made it illegal
and thus adds years onto a sentence for people who knowingly offer child
pornography to a minor to persuade the minor to participate in an illegal
activity such as adult–child sexual contact (18 USC § 2252A, certain activities
relating to material constituting or containing child pornography). In the
United Kingdom, Section 15 of the Sexual Offences Act 2003 has covered
“the behavior of an offender who meets, or seeks to meet, a child with the
intention of committing a sexual assault, if he has met or communicated
with that child on at least two earlier occasions” (McAlinden, 2006, p. 342).
However, as Gillespie (2004) noted, definitional problems with the construct
of grooming limit the use of this law, as grooming is “a transient feature that
is difficult to capture and virtually impossible to decide when it begins and
ends” (p. 586). McAlinden also described another law designed to criminalize
grooming in the UK:

      Sections 123-9 introduce the risk of sexual harm order—a new civil
      preventative order which can be used to prohibit specified behaviours,
      including the ‘grooming’ of children. . . . This order effectively criminal-
      izes acts which may be carried out for the purposes of sexual grooming,
      but only after an individual had been identified as posing a risk to
      children. (p. 342)

O’Callaghan (2011) described that in Wales a man pled guilty and was
sentenced to a year in prison for one count of meeting a child following sex-
ual grooming that consisted of inappropriate communication via Facebook.
In addition, Vance (2012) described a proposed law in New Zealand that
provides a sentence of three years in prison for anyone who participates in
online “indecent communication with anyone under 16.” This law is aimed at
sexual offenders who use Internet chatrooms or other social media websites
to find victims.
      It is evident that these legal definitions of grooming are both varied
and limited. The sorts of activities that these laws target do not actually
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capture the notion of grooming because these already involve illegal and
abusive contract with a child. Grooming is generally regarded as prior activ-
ities intended to prepare the child for abuse, not actual illegal or abusive
activities themselves. Thus, legitimate questions can be raised about whether
showing a child pornography ought not to be regarded as grooming because
it constitutes abuse itself. Clarifying a definition of grooming can thus make
these laws applicable to many more behaviors that are used by offenders
intending to sexually abuse children.
      It is important to note that clarifying key constructs is a difficult yet
important process. The prominent philosopher of science Larry Laudan
(1977) suggested that science has both empirical and conceptual prob-
lems and that scientific progress is made when either type of problem is
addressed. Conceptual analysis is particularly difficult as it is traditionally
not included as a part of the research method in the social sciences and
also because it involves the inherent complexity of language (O’Donohue,
2013). Here, conceptual analysis of the grooming construct is necessary in the
research process, as it is a salient example where the complexity of language
contributes to definitional confusion and leads to problematic implications
in clinical and forensic fields.
      The aim of this paper is to highlight the need for a clearer definition
of the grooming construct that may be applied to both clinical and foren-
sic work. The courts are currently unable to take much legal action against
grooming as it is not well understood and clearly demarcated. Furthermore,
psychologists are currently using clinical judgment to determine whether an
alleged perpetrator’s behaviors are considered grooming. The reliability and
validity of these judgments are largely unknown, leaving concerns of unac-
ceptable rates of false positives and false negatives. An additional aim is to
review the empirical literature regarding what is known about the occurrence
of grooming so that a clear definition can be constructed. With a clearer def-
inition of grooming, a more scientific assessment of such behavior can be
established. This article proposes future directions for research, including
validation of the proposed definition and development of an assessment
device.


                         CURRENT DEFINITIONS

The three tables presented here list various definitions of the construct of
“grooming” currently found in the literature. Table 1 provides various general
definitions of the term, Table 2 provides subcategories of grooming that some
authors have proposed, and Table 3 provides stages of grooming that several
authors have suggested.
     Thus there is a wide variability that exists in defining sexual grooming
as well as possible subtypes or stages of grooming. Although many of the
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TABLE 1 General Definitions of Grooming

Author(s)                   Definition of Grooming (taken directly from reference)

Sgroi (1982)     “How does [the perpetrator] get the child to participate in some type of
                   sexual behavior? Usually in a low-key, nonforcible fashion, possibly by
                   presenting the activity as a game or something that is ‘special’ and fun.
                   This always entails misrepresentation of moral standards, either verbally
                   or implicitly. . . . Perhaps rewards or bribes will be offered.”
Salter (1995)    “The establishment (and eventual betrayal) of affection and trust occupies
                   a central role in the child molester’s interactions with children. The
                   grooming process itself often seems similar from offender to offender,
                   largely because it takes little to discover that emotional seduction is the
                   most effective way to manipulate children.”
Howitt (1995)    “The steps taken by paedophiles to ‘entrap’ their victims and is in some
                   ways analogous to adult courtship.”
Leberg (1997)    “The offender plans to make the victim less likely to resist, to make others
                   unaware of what he is doing, or even to make them likely to help him,
                   without their knowledge, to molest a child.”
Gallagher (1999) “Entrapment involves the use of an array of material, illicit and emotional
                   ‘inducements’ to draw children into abusive situations and increases
                   their difficulty in disclosing.”
Brackenridge     “The process by which a perpetrator isolates and prepares an intended
  (2001)           victim.”
Gillespie (2002) “The process by which a child is befriended by a would-be abuser in an
                   attempt to gain the child’s confidence and trust, enabling them to get
                   the child to acquiesce to abusive activity. It is frequently a pre-requisite
                   for an abuser to gain access to a child.”
Berson (2003)    “Grooming involves a clever process of manipulation, typically initiated
                   through a nonsexual approach, which is designed to entice a victim into
                   a sexual encounter (Brown, 2001). The inhibitions of a child are
                   lowered through active engagement, desensitization, power and control.
                   It is often characterized as a seduction, involving a slow and gradual
                   process of learning about a child and building trust. This also
                   contributes to the difficulty in detecting the activity. Grooming is also a
                   deceptive process in which a child is unprepared to interpret cues
                   which signal danger of risk. Predators are skilled at gaining the trust of a
                   child before luring them into interactions. The process of grooming
                   through the formation of a close bond creates a victim who is more
                   likely to comply with sexual advances.”
O’Connell        “A course of conduct enacted by a suspected paedophile, which would
  (2003)           give a reasonable person cause for concern that any meeting with a
                   child arising from the conduct would be for unlawful purposes.”
Spiegel (2003)   “Subjection is the process of predisposing a boy to sexual abuse by means
                   of subtle or blatant interactions that lead to boundary diffusion and role
                   confusion.”
Craven, Brown, “A process by which a person prepares a child, significant adults and the
  and Gilchrist    environment for the abuse of this child. Specific goals include gaining
  (2006)           access to the child, gaining the child’s compliance and maintaining the
                   child’s secrecy to avoid disclosure. This process serves to strengthen the
                   offender’s abusive pattern, as it may be used as a means of justifying or
                   denying their actions.”
Knoll (2010)     “The process by which sex offenders carefully initiate and maintain
                   sexually abusive relationships with children. Grooming is a conscious,
                   deliberate, and carefully orchestrated approach used by the offender.
                   The goal of grooming is to permit a sexual encounter and keep it a
                   secret.”
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TABLE 2 Proposed Subtypes of Grooming

Author                                                Types of Grooming

Leberg (1997)                         1. Physically grooming the victim
                                      2. Psychologically grooming the victim and family
                                      3. Grooming the social environment and community
Craven, Brown, and Gilchrist (2006)   1. Self-grooming
                                      2. Grooming the environment and significant others
                                      3.Grooming the child
McAlinden (2006)                      1. Personal
                                      2. Familial
                                      3. Institutional
Wyre (1987) as discussed in Howitt    1. Extrafamilial
 (1995)                               2. Intrafamilial




definitions share some key similarities, many behaviors may be classified as
grooming under some definitions but not under others. Some of these sim-
ilarities in definition include the criterion of preparing a child for abuse
(Brackenridge, 2001; Craven, Brown, & Gilchrist, 2006; Gallagher, 1999),
gaining a child’s trust (Berson, 2003; Craven et al., 2006; Gillespie, 2002;
Salter, 1995), making it more difficult to the child to resist or disclose the
abuse (Berson, 2003; Craven et al., 2006; Gallagher, 1999; Gillespie, 2002;
Knoll, 2010; Leberg, 1997), and the enumeration of specific tactics used to
groom the child (Berson, 2003; Gallagher, 1999; Sgroi, 1982).
      Furthermore, a variety of different kinds of definitional features are pro-
posed. For example, one definition mentions “betrayal” (Salter, 1995) while
another references “courtship” (Howitt, 1995). Some proposed definitions
give concrete examples of grooming (Gallagher, 1999; Sgroi, 1982), while
others try to give abstract properties to capture what the authors take to be
the essential properties of grooming (O’Connell, 2003; Spiegel, 2003). Some
definitions are fairly brief and more vague (Brackenridge, 2001; Howitt, 1995;
Spiegel, 2003), whereas others are much longer and more detailed about
what grooming looks like (Berson, 2003; Craven et al., 2006; Sgroi, 1982).
Obviously this heterogeneity presents serious challenges for forensic and
clinical work.
      Some of these definitions involve additional difficulties in that the terms
used to define grooming present additional serious definitional problems
themselves. For example, Salter (1995) used the phrase “emotional seduc-
tion” in her grooming definition. This requires further delineation of what
exactly emotional seduction entails as well as a measurement strategy to
validly capture this alleged dimension. As another example, Spiegel’s (2003)
definition involves constructs such as “boundary diffusion” and “role con-
fusion.” These constructs are not part of the standard scientific lexicon and
thus create further impediments to enhancing our scientific understanding of
the grooming process. Finally, some definitions propose stages of grooming,
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TABLE 3 Proposed Stages of Grooming

Author                                               Stages of Grooming

van Dam (2001)                  1. Identify vulnerable child
                                2. Engage that child in peerlike environment
                                3. Desensitize the child to touch
                                4. Isolate the child
                                5. Make the child feel responsible
Brackenridge (2001)             1. Targeting a potential victim
Applies to grooming in sport.   2. Building trust and friendship
                                3. Developing isolation and control, building loyalty
                                4. Initiation of sexual abuse and securing secrecy
Wyre (1987) as discussed in     Applies to extrafamilial grooming:
 Howitt (1995)                  1. The offender masturbates and fantasizes about future
                                  contacts, a boy is befriended while an effort is made to
                                  earn his parents’ trust, outings are common to achieve
                                  intimacy
                                2. The offender finds out about the boy’s home/school
                                  problems—a “counseling” role is created
                                3. Physical contact of a nonsexual sort begins, offender’s
                                  masturbation and fantasy continue, sexual touches begin
                                  and gradually increase in severity
                                Applies to intrafamilial grooming:
                                 1. Tickling the child
                                 2. Bathing
                                 3. The offender’s sexual arousal and fantasy
                                 4. The child going to the offender’s bed
                                 5. The offender knows the child likes being tickled
                                 6. “Sex education”
                                 7. Tickling reaches child’s sexual parts
                                 8. Offender masturbates the child’s genitals
                                 9. The child is trapped into silence
                                10. Sexual contact is increased
                                11. Offenders cognitive distortions increase
                                12. Becomes difficult to end sexual contact
                                13. Offending behavior reinforced through masturbation to
                                    fantasies
Christiansen and Blake (1990)   1. Trust
Applies to father–daughter      2. Favoritism
  grooming.                     3. Alienation
                                4. Secrecy
                                5. Boundary violations
O’Connell (2003)                1. Friendship-forming
Applies to online grooming.     2. Relationship-forming
                                3. Risk assessment
                                4. Exclusivity
                                5. Sexual
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which makes the definitional and measurement process even more complex
as each of these stages must be delineated and validly measured, and this
must be done with the proposed sequencing as well. For example, Wyre’s
(1987) proposed stages for intrafamilial abuse involved 13 separate steps,
the first 10 of which according to the author can be identified as groom-
ing behaviors. As Howitt (1995) pointed out, this account of the abuse cycle
makes it “appear a relatively short-term and repetitive process” (p. 85), which
certainly is not representative of all cases of child sexual abuse.


                  GROOMING AS A DEVIANT PROCESS

Part of the difficulty in identifying and clarifying a useful definition of groom-
ing is the fact that many behaviors used by perpetrators appear quite similar
to behaviors seen in normal adult–child relationships. Buying gifts for chil-
dren or taking them on private outings obviously are not always precursors
to sexual abuse. Using the male sports world as an example, Hartill (2009)
wrote that “in preparing for the abuse, the perpetrator is able to use such
‘disinhibiting’ techniques through drawing on practices and discourses that
are, to varying degrees, a normative feature within many, if not all, male
sports contexts” (p. 239). Obviously part of the reason for this similarity to
normative behavior is that the potential abuser does not want to be detected
and thus wants to disguise what he is setting out to accomplish. In addition,
it must be recognized that not all sexual offenders use grooming techniques.
Groth, Hobson, and Gary (1982) differentiated between “child molesters”
and “child rapists.” Part of this distinction for these authors stems from their
observation that child molesters use a grooming process on their victims,
whereas child rapists do not, as their assaults occur suddenly. These authors
also pointed out that child molesters are much more common than child
rapists. Alternatively, some authors seem to construe grooming behaviors
as mirroring behaviors seen in dating relationships between two consenting
adults. For example, Herman (1981) wrote that sexually abusive fathers make
an attempt to “court” their daughters by giving them flowers or presents (e.g.,
expensive jewelry or lingerie).


                    THE PREVALENCE OF GROOMING

Because the definition of grooming varies from study to study, currently there
is no way to know precisely how prevalent grooming is because each study
employs some variant of the definition. Nevertheless, there have been several
empirical studies conducted with child molesters to determine what specific
methods they frequently use to choose their victims, initiate the abuse, and
keep their victims from disclosing. Other researchers have chosen to focus
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on the victims and ask them what techniques their abusers used prior to
the abuse. It is important to note that in this article, examples of grooming
with different genders of perpetrator and genders of victim are not readily
distinguished. This is primarily due to the fact that the grooming literature
reviewed did not always provide statistics about which grooming behaviors
were used on boys versus girls. In addition, most of the grooming literature
reviewed discussed male offenders.


Identifying Potential Victims
Elliott and colleagues (1995) interviewed 91 child sex offenders about the
strategies they used when committing their offenses. They found that 33%
of the offenders explicitly worked on becoming welcome in the child’s
home and 18% offered incentives or threatened their victims to recruit other
children and then gave bribes to the recruits.
     Conte, Wolf, and Smith (1989) interviewed 26 offenders about their
crimes. They found that offenders often admitted to being able to iden-
tify what they considered a vulnerable child—often one who was “needy”
and seemed “quiet.” For example, one offender stated that his tactic was to
“look for a kid who is easy to manipulate. They will go along with anything
you say. I would approach them by being friendly, letting them think I was
someone they could confide in and talk to” (Conte et al., 1989, p. 298).
     In her review of literature about sexual abuse involving teachers,
Shakeshaft (2004) noted that selection of a victim is “influenced by the
compliance of the student and the likelihood of secrecy” (p. 32). Teachers
usually look to victimize students whom they have control over. Shakeshaft
also identified factors that make a child vulnerable to educator sexual abuse,
such as problems at home with parents, lack of confidence, and partici-
pation in other risky behavior. However, it also must be remembered that
nonoffending adults could see the same needs in these vulnerable children
and want to help them in legitimate ways. Thus the child’s vulnerability and
needs cannot be a sufficient condition for defining grooming.


The Use of Attention, Bribery, and Coercion
Elliott and colleagues (1995) found that 53% of the offenders in their sample
offered to play games, teach a sport, or teach how to play a musical instru-
ment. Forty-six percent gave bribes, took the child for an outing, or drove
the child home. Thirty percent admitted to using affection and love to gain
the child’s trust. Forty-six percent of the offenders used gifts as bribes in
exchange for sexual favors.
     The offenders interviewed by Conte and colleagues (1989) also claimed
they used bribery and coercive strategies prior to sexual contact. For
example, one sex offender stated that his specific methods included “play,
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talking, giving special attention, trying to get the child to initiate contact with
me. Get the child to feel safe to talk with me” (p. 297).
      In his literature review on teacher sexual misconduct, Knoll (2010)
found that educator sexual offenders tend to use bribery by giving their
students special attention or rewards. According to Knoll, “the power of
such rewards to affect the student should not be underestimated. Rewards
from a teacher may have a crucial impact on the student’s motivation and
cognitions” (p. 376).
      Budin and Johnson (1989) interviewed 72 sex offenders about methods
they used to gain access to and abuse their victims. When asked what they
did to gain their victims’ trust, the majority of offenders admitted to acting
like the child’s friend and playing games with them. Other strategies included
giving money, toys, candy, cigarettes, beer, or drugs to the child.
      In his study of institutional sexual abuse, Gallagher (2000) looked at
a sample of 65 substantiated cases of abuse. He found that grooming, or
“entrapment,” which he defined as “the process by which perpetrators draw
children into abusive situations and make it difficult for them to disclose”
(p. 810) was reported in 35% of cases. In these cases, he found that 39%
of perpetrators took the child away from the institution (thus isolating the
child), 22% gave the child extra attention, 22% gave money to the child, 9%
provided the child with illicit goods, and 4% provided the child with games
or toys.
      In their interviews with 23 CSA victims, Berliner and Conte (1990) found
that many children shared similar experiences with bribery and coercion
prior to their abuse. Sixty-one percent of children reported that their abusers
made excuses to spend time alone with them; 61% indicated that they were
told that they were special, different, or the only one who understood the
abuser; 61% said that their abuser treated them as an adult or he acted
as a child toward them; 57% reported that their abusers gave them special
privileges that made them feel obligated to be compliant in the abuse; 39%
indicated that their abuser shared private information about spouses with
them; 39% reported that their abuser prevented them from having friends or
doing activities that other children do; and 30% reported that their abuser
treated them “meaner” than other children.
      Shakeshaft (2004) wrote that in educator sexual abuse, teachers usually
“coerce” their student victims by providing additional help (e.g., advisement
on a project or taking on an outing) that not only allows for time alone with
the victim but are also activities for which the victim’s parents tend to be
grateful to the teacher. Furthermore, she pointed out that because these acts
do not yet constitute recognizable sexual abuse and because they share sim-
ilarities with legitimate activities, any complaint about these activities cannot
lead to much disciplinary action.
      Christiansen and Blake (1990) discussed that in father–daughter incest,
most fathers purposely build a trusting relationship with their daughters
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prior to beginning any sexual abuse. However, this is a somewhat flawed
analysis, as there ought to be a trusting relationship in all father–daughter
relationships, at least prior to any abuse. Seventy-three percent of perpetrat-
ing fathers viewed this trust as crucial to the sexual relationship to reduce the
risk of the daughter disclosing the abuse (Warner-Kearney, 1987, as cited in
Christiansen & Blake, 1990). Many fathers also show clear signs of favoritism
toward their victimized daughter relative to their other children. Burgess and
Holmstrom (1980) wrote that molesters tend to use three types of pressure
to make their victims compliant: material goods, misrepresentation of moral
standards, and the need for human contact. They noted that material goods
are the most frequent tool that offenders use.
      One difference has been found between genders of the victim in this
emotional coercion type of grooming. Spiegel (2003) noted that in male
victims, emotional coercion can take on a negative tone. For example, per-
petrators may use name-calling words such as “fag” or “whore” to put the
male child down and make him feel ashamed and thus less likely to disclose
the abuse.


Sexual Desensitization
Elliott and colleagues (1995) found that of those offenders who used babysit-
ting as a strategy to gain access to their victims, 27% started talking to the
child about sex, 21% misrepresented the abuse as educational or loving
(which again may not be part of grooming because some of this would
be postabuse), and 20% offered to bathe or clothe the child. Furthermore,
these authors found that 40% of all offenders said the first move they made
was sexual touching or genital kissing. Thirty-two percent of the offenders
asked the child for help with undressing or lying down. Forty-four percent of
the offenders used coercion and persuasion, 49% talked about sex with the
child, and 47% used “accidental” touch. Sixty-one percent of the offenders
would stop the abuse if the child became resistant and then persuaded the
child to let them begin again. Many offenders committed the abusive acts in
their own homes, where 33% used pornographic videos and magazines to
desensitize the child.
     Conte and colleagues (1989) found that sexual desensitization was com-
monly used among the offenders in their sample. For example, one offender
stated,

      Most of the time I would start by giving them a rub down. When I got
      them aroused, I would take the chance and place my hand on their penis
      to masturbate them. If they would not object, I would take this to mean it
      was OK. I would isolate them. I might spend the night with them. Physical
      isolation, closeness, contact are more important than verbal seduction.
      (p. 297)
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     Knoll (2010) found that while a teacher is using bribery to gain the
trust of a victim, typically conversation about sexual matters with the stu-
dent is also starting to emerge. Physical contact is then gradually increased.
Furthermore, Gallagher (2000) found that in cases where “entrapment”
behaviors were reported, 43% of perpetrators initiated physical contact with
the child and 17% behaved in a sexual manner with the child.
     Furthermore, differences between genders of the victim have also been
noted in the sexual desensitization type of grooming. Spiegel (2003) noted
that the use of pornography to sexually desensitize children is more common
with male victims than with female victims.


Boundary Violations
Berliner and Conte (1990) found that 70% of children reported that their
abusers “accidentally” came into their bedroom or bathroom while they were
undressing; 61% indicated that their abusers “accidentally” touched their pri-
vate parts; 61% said that their abusers did not respect their privacy or let
them close doors; 61% reported that their abusers “accidentally” showed
their naked body to them; 57% indicated that their abusers would purposely
do things with the child that involved physical contact; 48% said that their
abusers made sexual comments about the child’s body or clothing; 44%
reported that their abusers asked them to do things that involved physical
contact; 30% said that their abusers would inspect the child’s body “to see
how it was developing”; 30% indicated that their abusers “taught sex educa-
tion” by showing pornographic pictures and touching the child’s body; 26%
reported that their abusers told the child about sexual things he had previ-
ously done; and 22% indicated that their abusers put lotion or ointment on
the child when they were alone but said he was doing nothing wrong.
      According to Christiansen and Blake’s (1990) stages of grooming in
father–daughter incest, the last step involves the father violating his daugh-
ter’s boundaries. In particular, fathers may insist on bathing their daughters
and do not allow other family members to do this. These baths frequently
involve inappropriate sexual behavior. Fathers also insist on dressing their
daughters or on watching them get dressed. In addition, fathers will tend
to watch the child use the bathroom. Finally, perpetrating fathers will have
sexually explicit conversations with the daughter to further desensitize them.


Grooming the Child’s Environment
Elliott and colleagues (1995) found that 20% of the offenders in their sam-
ple admitted they gained the trust of the child’s family with the purpose of
abusing the child. Forty-eight percent isolated their victims through babysit-
ting. Furthermore, Knoll (2010) found that a teacher can also manipulate the
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relationship with her victim’s parents to gain their approval of spending time
with their child.
      Van Dam (2001) pointed out that many child molesters spend years gain-
ing the trust of members in the community before actually sexually abusing
any children. She hypothesized that these offenders use several social psy-
chological techniques to groom the community effectively. As an example,
they may use “foot-in-the-door technique” by showing up uninvited to a
child’s birthday party and spending time playing games with the children.
The parents would feel uncomfortable asking this person to leave and have
thus subtly cooperated with the offender. From then on it would be easier
for the offender to gain cooperation from the parents on spending time with
the children. Offenders can also use conformity against these parents—it
would go against social norms and be rude to ask a person to leave a party
when the children are enjoying spending time with an offender. In addition,
cognitive dissonance can play a role as the parents will try to make their
beliefs about the offender consistent with their actions of letting their chil-
dren around him or her (they will believe that they think he or she is a good
person). Finally, confirmation bias can also play a role as the parents will
tend to only accept information that is confirming their existing beliefs about
the offender.


Commonalities
The two major commonalities in the definitions reviewed as well as the
empirical studies of grooming are (a) some sort of inappropriate behav-
ior on the part of the prospective abuser (whether it is a bribe, boundary
violation, invasion of privacy, misstatement of morality, mischaracterizing
an interaction as a “game,” isolation, emotional manipulation, etc.) and (b)
the function of this inappropriate behavior is to increase the likelihood that
the adult can sexually abuse the child (by, for example, gaining access to
them, gaining their trust, silencing them, isolating them, desensitizing them
to nudity or sex, etc.). Each component of the definition may have different
topographies in individual cases (e.g., sometimes the inappropriate behavior
is removing a door to the child’s bedroom, or sometimes it may be buy-
ing the child a bikini), but the function of the behavior is to increase the
likelihood of future abusive contact.


                       A PROPOSED DEFINITION

Any definition ought to use the empirical findings reviewed previously about
common strategies used by sexual molesters. In addition, we believe that the
most useful definition of grooming would attempt to instantiate the following
definitional meta-criteria:
                        Grooming in Child Sexual Abuse                      969

1. Minimize false negatives. Thus, we wanted the definition to be sensitive
   to all occurrences of grooming.
2. Minimize false positives. Thus we also wanted the definition at the same
   time to be specific and not overinclusive (including perfectly appropriate
   behaviors as invalid examples of grooming).
3. Be capable of providing the basis for a valid assessment procedure.
4. Not include constructs that in themselves bring about further definitional
   problems.
5. Minimize judgment, although not completely avoid it as we believe that
   determining a behavior to be grooming essentially requires some complex
   judgments regarding appropriateness.
6. Show interrater reliability (have a high degree of agreement across raters).
7. Allow the rater to have multiple choices regarding final decisions given
   the complexity of individual cases, such as clearly grooming, probably
   grooming, uncertain, or not grooming.
8. Allow a third party to understand the logic of these judgments and
   conclusions by explicating the decision pathway for these final judgments.

We propose that grooming be defined as “antecedent inappropriate behavior
that functions to increase the likelihood of future sexual abuse.” There are
no stages of grooming as there are in some definitions as proposing stages
necessitates additional definitions and demarcations of each stage. Therefore,
there are two individual criteria that must be met to consider a behavior to
be “grooming:” (a) the behavior being evaluated must in and of itself be
inappropriate and a case for this inappropriateness must be made, and (b) a
sound argument must be presented that the behavior or behaviors increases
the likelihood of future sexual abuse. The definition is further elucidated by
providing a number of exemplars of grooming:

1. Any sexualization of the relationship such as talking about sex in a way
   that is not permissible given the adult’s relationship with the child (e.g.,
   it is permissible for parents to provide sex education to their children) or
   exposing the child to sexually explicit materials such as R rated movies
   (showing the child pornography would be abusive in and of itself and
   therefore not grooming).
2. Inappropriate gift giving (developmentally or socially inappropriate, such
   as bikinis or bras purchased by a neighbor or teacher).
3. Inappropriate nonsexual communication with the child (e.g., telling the
   child she is the only one who understands the offender, or telling her “I
   love you” when the social role is not appropriate for this type of commu-
   nication), particularly when an adult uses these statements to manipulate
   the child to do something (e.g., “I love you and people who love each
   other touch each other”).
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 4. Inappropriate touching of the child (e.g., excessive tickling, hugging,
    wrestling, sitting on lap).
 5. Bribes for inappropriate contact (e.g., bribes for nonsexual or sexual
    touching or bribes to meet the adult secretly).
 6. Threats related to not participating in inappropriate contact.
 7. Inappropriate isolation of the child (e.g., trips where the offender and
    victim are alone that are not part of the normal adult–child relationship.
    It is permissible for a father to drive a child to school), or inappropriately
    discouraging the child to play with friends or be with family. For parents
    or other caretakers, the threshold for what is considered inappropriate
    behavior is higher than for other adults.
 8. Favoritism directed toward the child (e.g., the child is treated much better
    than siblings or classmates, particularly when this is intimate or isolating).
 9. Boundary violations such as inappropriately bathing the child, clothing the
    child, sleeping with the child, the adult being in underwear around the
    child, the adult acting like a child, or the adult sharing private information
    with the child, particularly sexual or relationship information (e.g., “my
    wife and I are not having sex”). Again, for parents, family members or
    caregivers the threshold is much higher for defining a boundary violation
    than for others.
10. Asking the child to keep secrets, particularly about their contact (e.g.,
    the mother’s Christmas present would not be regarded as a problematic
    secret, whereas asking the child to not tell that she was with the offender
    would be).
11. Providing the child drugs or alcohol (note: although this behavior is
    already abusive, it is not sexually abusive; thus, it can be consid-
    ered a grooming behavior as it is inappropriate and serves to facilitate
    compliance with the intended sexual abuse).
12. Misstating moral standards regarding touching, contact, or sex, particularly
    when these relate to adult–child sexual contact or sexualizing a situation.
13. Repeated violations of the child’s privacy (e.g., walking into bathroom
    when child is in there, watching her get dressed, etc.).


 The more of these features present, the more likelihood the individual’s
 behavior represents grooming. To further clarify the grooming definition, it
 may be helpful to also look at a few specific exemplars of nongrooming
 behaviors that may be misinterpreted:


 1. Purchasing appropriate gifts for the child (e.g., for birthdays).
 2. Engaging in appropriate hand-holding (e.g., to cross the street).
 3. Bathing a young child by a legitimate caregiver without any inappropriate
    touching.
                         Grooming in Child Sexual Abuse                         971

4. Having age-appropriate and relationship-appropriate discussions of body
   parts.
5. A care-giving figure saying “I love you” without the goal of manipulation
   (not using the phrase to get the child to do something inappropriate).


                    THE ASSESSMENT OF GROOMING

Because grooming is a set of common behaviors seen in child sexual offend-
ers (as the previous reviewed literature seems to support this conclusion),
it should be possible to assess behaviors to determine whether they are
indicative that sexual abuse is likely to occur. We have reviewed the pub-
lished literature and have not been able to find any measures that validly
assess grooming behaviors (by any definition of grooming). This greatly
reduces the value of any definition as the practical usefulness of a definition
is seen in its ability to be operationalized in valid measurement processes.
It is important to develop valid measures as it is not ideal for the detection
of grooming to be an entirely post hoc process—that is, only after the abuse
occurs are the gifts seen as inappropriate and thus as part of a grooming
process. The grooming acts should seem at least somewhat inappropriate
at the time they are occurring and thus ideally adults can intervene to stop
future abuse. To resolve this problem, grooming requires a valid definition
and a psychometrically adequate assessment procedure to reduce both the
number of false positives and false negatives.
      We are currently developing an assessment device that would aid a clin-
ician in coming to a valid conclusion as to whether an individual’s behaviors
can be considered grooming. As mentioned, an assessment of grooming in
our proposed definition would involve a two-step process: (a) determining
that the adult’s behavior is inappropriate in and of itself, such as if the tickling
is excessive or the bikini gift is not justified by the nature of the relationship;
and (b) reasonably arguing that the function of this inappropriate behavior
is to increase the likelihood of future abusive contact.
      What is “inappropriate” admittedly is somewhat of a vague term that
requires judgment because we need to clearly differentiate the behavior
from normal adult–child relationships. However, this judgment requirement
currently exists for other psychological constructs as well. For example,
the diagnosis of a major depressive episode might require that a clinician
judges the client’s guilt as “excessive.” In addition, under our criteria these
judgments of inappropriateness should be explicit (there must be a clear
argument as to why the behavior is inappropriate). Since the argument must
be explicated, others would be able to evaluate it and decide whether it is a
nonproblematic judgment of the behavior.
      To illustrate, a male coach buying an eight-year-old girl a bikini would
generally be considered inappropriate, but the act of buying her a pair of
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gym shoes with her mother’s consent generally would not. A criticism of this
definition is that “appropriate” behaviors may be used by some perpetrators
to groom (e.g., buying a poor child gym shoes may still be performed to
gain the child’s trust to eventually abuse her). However, because this behav-
ior can be entirely unrelated to abuse and because the assessment ought to
strive to minimize false positives, we have chosen to require that all groom-
ing behaviors be inappropriate in and of themselves. Second, we recognize
that not all inappropriate behaviors ought to be considered grooming—an
adult offering cigarettes to a child may be inappropriate but in addition we
narrow the class of these inappropriate behaviors to those that are related to
increasing the probability of sexual contact.
     It is important to note that there may be instances in which the question-
able behavior falls in some gray area between grooming and nongrooming.
For example, a father buying his daughter a bikini may or may not be con-
sidered inappropriate. Unless more details are known about the context of
this purchase (perhaps it was just impossible for the mother or some other
female to do this and the need for a bathing suit was urgent), one could
explicate reasonable arguments that the behavior is and is not representa-
tive of grooming. The most logical judgment to come to, then, is that this
behavior is an indeterminate case and that it is unclear whether it should be
considered grooming.
     Arguments also need to be made regarding the second criterion of
the definition: whether the function of the inappropriate behavior was to
increase the likelihood of abuse in the future. Interpreting behavior and the
intentions of a person performing a behavior is admittedly complex. The
rational appraisal of behavior involves setting up a universe of plausible
interpretations and gathering evidence in the individual case to rule in or
rule out each. As an example, if a male neighbor has a pool and buys a
bikini for a five-year-old girl to come over to swim and has her change into
the bikini at his house while they are alone (the purchase of the bikini and
having her change in his house without her guardian present would be con-
sidered inappropriate and thus meet the first criterion of the definition), the
set of major plausible interpretations regarding the function of the behavior
include:

1. Buying a bikini for the girl was the only way to allow the child to engage
   in the appropriate activity of swimming. Changing at his house was the
   only way to have the child dressed appropriately for swimming. These
   facts do not function to set the occasion for abuse to occur.
2. Buying a bikini and having the child change alone is not appropriate
   as there are more appropriate, prudent alternatives. In addition, bikinis
   can be thought of as sexualized clothing and changing alone without a
   guardian present is also a boundary violation. For example, giving money
   to the child’s guardian to buy whatever bathing suit the guardian thought
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  appropriate (perhaps a one piece) is a better way to allow the child
  to engage in the healthy activity of swimming. In addition, the child’s
  guardian should always be present when the child is swimming in the
  pool or changing into her bathing suit. This pathway does not increase
  the probability that abuse will occur in the future.

In this case, clearly the second alternative explanation is superior due to the
fact that it respects the guardian’s control, enhances the guardian’s ability to
supervise the child, does not isolate the child, might involve a less revealing
swimsuit, and allows the guardian to exercise his or her discretion regarding
what is appropriate swimwear. In addition, because the first alternative con-
tains false assertions and can set the occasion for abuse, while the second
alternative contains true assertions and is consistent with decreasing the like-
lihood of abuse, it is concluded that the behavior under question meets the
second criterion of our definition of grooming as it is functioning to increase
the likelihood of future abuse.
      Again, the advantage of this approach is that it explicates the arguments
for a person’s behavior as meeting or not meeting the definitional criteria.
The situation is complex because often grooming is meant to be disguised
or ambiguous by the would-be abuser. However, this approach does allow
the generation of alternatives that would be more prudent and reasonable
and thus both the inappropriateness and function of the behavior can be
rationally identified.
      Finally, before this assessment method is accepted it must be evaluated
with respect to its interrater reliability, predictive validity, sensitivity, and
specificity. Currently, it is unfortunate that the field has no assessment meth-
ods to properly identify grooming and thus understanding the psychometrics
of this definitional approach (as well as others) ought to be a priority.
      Obviously the proposal of this definition is just a first step, and it gen-
erates a large research agenda. Validity studies need to be run on a sample
of what experts clearly identify as instances of grooming and instances of
normal behavior to see the extent to which professionals trained in this
definition can correctly identify these two kinds of behaviors. The rates of
false positives and false negatives need to be identified in these sorts of
studies and modifications in the definition, assessment, or training need to
occur in attempts to minimize these. Randomly controlled studies can be
used to compare the accuracy of this method as compared to other pro-
posed methods and definitions. Studies need to be conducted investigating
different types of abuse (e.g., familial versus nonfamilial, boys versus girls,
young children versus teenagers, majority versus minority culture) to see the
extent to which this definition is robust across these varying dimensions.
Again, modifications would need to be made when problems or limitations
are found. It would also be useful to conduct some longitudinal research
with high-risk samples to determine the likelihood of accurate detection of
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grooming and the prevention of future abuse (by perhaps a comparison with
a no treatment control). Another important issue is to investigate what sort
of training programs or materials need to be developed so that a wide vari-
ety of professionals can faithfully implement the definition and proposed
assessment methods.


                                CONCLUSIONS

Currently there is no consensus regarding how to define grooming. In addi-
tion, there is no valid method to assess whether grooming has occurred or
is occurring. The field possesses an insufficient amount of knowledge about
key issues such as the interrater reliability of these judgments or the error
rates of these judgments including the frequency of false negatives or false
positives. Thus currently it appears that grooming is not a construct that
ought to be used in forensic settings as it does not meet some of the cri-
teria in the Daubert standard. The Daubert standard indicates that in court
an expert witness may only testify if (a) “the expert’s scientific, technical,
or other specialized knowledge will help the trier of fact to understand the
evidence or to determine a fact in issue; (b) the testimony is based on suffi-
cient facts or data; (c) the testimony is the product of reliable principles and
methods; and (d) the expert has reliably applied the principles and meth-
ods to the facts of the case” (Rule 702: Testimony by expert witness). Right
now it does not appear to be the case that there are “reliable principles and
methods” to define and detect grooming.
     We propose a definition of grooming that involves two parts: (a) inap-
propriate behavior on the part of the adult and (b) sound arguments that this
inappropriate behavior functions to increase the probability of future sexual
abuse. We then provide exemplars of this kind of inappropriate behavior.
Future research on grooming would be more useful to the field if data were
collected using a single, clear definition such as the one we have proposed.
This would provide a basis for data to be easily aggregated and better under-
stood, which could lead to the admissibility of grooming evidence in forensic
settings. Furthermore, we are currently working to develop valid psycho-
metric instruments with known reliability and validity to assess grooming
according to this standard.


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                               AUTHOR NOTES

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Dietz                                                                        29

Keywords
grooming, seduction, child sexual abuse, acquaintance molestation, litigation


Grooming and Seduction
In the development of knowledge of child sexual abuse, few discoveries
could outweigh the importance of recognizing that a large proportion of
offenses are committed by acquaintances of the child using techniques other
than force or threat of force. No individual has done more to share this insight
with the international law enforcement community than Ken Lanning, whose
writings and teachings have also reached mental health professionals, those
who work in the criminal justice and social service systems, those who care
for the nation’s children, and countless concerned citizens and parents.
    The application of the terms “seduction” or “grooming” to these nonforce-
ful, nonthreatening, and nonviolent techniques has been in the service of dis-
seminating this important insight, which first burst into public consciousness
as a real possibility in the mid-1980s as a result of partially untrue media
reports about the McMartin School case and the case of Father Gilbert Gauthe,
both of which stories first broke in 1984. Yet even today, far too many people,
including many who should know better, have difficulty grasping the possibil-
ity of nonforceful, nonthreatening, and nonviolent acquaintance molestation,
as their preconceptions of childhood innocence and predatory molesters are
too strong to allow them to accept that children can be so readily manipulated
into doing or allowing things that others find abhorrent.


Grooming
Lanning (2018) is precisely correct in dating to the 1980s the use of the term
“grooming” to refer to techniques for gaining sexual access to children and in
his observation that during the 1980s, this usage gradually increased. Using
the search capabilities of Google Scholar, I found no use of the word “groom-
ing” to mean such techniques in conjunction with the terms “child sexual
abuse,” “child molestation,” or “child molester” in the professional literature
from 1850 through 1983. The first publication identified by Google Scholar
as using the term “grooming” in this way was an article by Conte (1984) cit-
ing Groth and Birnbaum (1979) for the proposition that “[i]n most cases,
except those involving abuse by a stranger, the perpetrator involves children
in sexual abuse through a grooming process in which a combination of kind-
ness, attention, material enticement, special privilege, and coercion are
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Figure 1. Use of the term “grooming” in association with “child sexual abuse” in
the professional literature accessed by Google Scholar, 1984-2016, as of 25 August,
2017.


expertly applied” (p. 558). Groth and Birnbaum accurately describe the pro-
cess (at p. 142-143), but do not use the term “grooming.”
   Figure 1 shows how the maximum number of publications in the database
using the term “grooming” for this meaning1 has increased since 1984. For
the remainder of the 1980s, zero to nine publications per year used “groom-
ing” for this meaning. From 1990-1999, the annual frequency rose from eight
to 63, and from 2000 to 2009, from 64 to 227. From 2010 to 2016, the annual
frequency rose from 282 to 533.
   My own recollection of the growing use of the term “grooming” in this
context during the 1980s and 1990s is that it spread not only through peer-
reviewed literature and books, but also though the teaching and training being
conducted by Ken Lanning, Ann Burgess, and other thought leaders of the era,
and that it was gradually adopted by journalists and the general public as well.
As the term came to be widely applied, it became increasingly obvious that
offenders who groom children often groom the parents of those children, the
organizations through which they work or volunteer with children, and the
communities in which they function. The success of these offenders in doing
so makes it all the more difficult for observers to overcome the false belief that
such a “nice guy” could not be harming children (Lanning & Dietz, 2014).
   Lanning (2018) points to some of the ways in which the term “grooming”
has been misapplied (e.g., to refer to the use of “lures” in stranger cases or
what might be expected parental behaviors in intrafamilial cases) but does
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not mention the misuse of the term in civil litigation. Where a victim is suing
an employer or organization in connection with the sexual abuse of a minor
by an employee or volunteer, it has become commonplace for the victim’s
advocate to argue that the failure to detect “grooming” was negligent on the
part of the employer or organization. If their use of the term “grooming”
always encompassed excessive focus on a particular child, time alone with
the child, or inappropriate touching, this usage might not be problematic, but
when “grooming” is applied to such common and desirable behaviors as
being kind or attentive or helpful or caring, there is considerable risk of mis-
leading the fact finder into believing that these latter behaviors are well-
established predictors of child sexual abuse when there is no evidence
whatsoever that they can help discriminate between good employees and vol-
unteers, on the one hand, and risky employees and volunteers, on the other
hand. In the litigation context, efforts to expand the concept of “grooming” to
encompass desirable behaviors that are not associated with elevated risk is
misleading, particularly when coupled with the presumption or suggestion
that “grooming” always reflects an intent or plan to offend or, worse, that an
offense can be proved by the fact that the accused engaged in “grooming.”


Seduction
Although I agree with Lanning (2018) that the term “seduction” is preferable
to the term “grooming,” at least when there is an opportunity to explain how
similar the seduction of a child is to the seduction of an age-appropriate part-
ner, there is ample historical reason to be cautious about the use of the term
“seduction” in this context without further explanation. This is because of
two archaic usages of “seduction” in the older literature.

Archaic Usage #1: Seduction as a Euphemism for the Offense
One of the archaic usages of “seduction,” found often in the older scientific
literature, is as a vague euphemism for any occurrence of child sexual abuse
or an event that may have been sexually simulating to the child, as in these
passages:

   •    “[A] shock of some kind is held responsible for the neurosis—an
        attack by an animal, a threat of castration, a seduction, an actual view-
        ing of parental coitus . . .” (Isaacs, 1928, p. 193).
   •    “. . . I wondered whether the precocity of these fantasies and their
        frequency might not be due to actual seduction that the child had expe-
        rienced . . .” (Rank, 1942, p. 56).
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     •   “. . . It was expected that a connection would be found between the
         child’s symptom and the seduction, which was assumed to be the trau-
         matic factor . . .” (Bornstein, 1946, p. 230).
     •   “. . . [W]here father or mother, either consciously or unconsciously,
         elevate the child into a substitute sexual partner or commit real acts of
         seduction with him . . .” (A. Freud, 1968, p. 45).
     •   “If we assume that the term ‘seduction’ refers to any kind of sexual
         encounter, it can range from milder types, such as exposing oneself
         and enticing the child to follow suit, all the way to forcible rape”
         (Finch, 1974, p. 34).
     •   “She was then able to use the dolls to reveal the drama of her own
         seduction and the ensuing family chaos . . .” (Mrazek, 1980, p. 279).

   Here “seduction” is not referring to the process by which a child is
groomed or seduced but to the offensive event itself. Freud’s seduction
hypothesis “. . . generalized that the roots of all adult neuroses lay in child-
hood sexual contacts with adults” (Gagnon, 1965, p. 177). The vagueness of
this use of “seduction” makes it impossible to determine which child sexual
abuse behaviors are and are not encompassed by the term and suggests that
“seduction” may mean different specific things to different authors.
   Authors sometimes imply that “seduction” does not include violence, as when
they distinguish it from rape or other violent assaults, as in these examples:

     •   “Klein has stated that an experience of seduction or rape by a grown-
         up person may have serious effects upon the child’s psychic develop-
         ment . . .” (Bender & Blau, 1937, p. 500).
     •   “[T]he possible . . . event of seduction, incest, or rape . . .” (Lewis &
         Sarrel, 1969, p. 606).
     •   “Violence is rarely found to accompany the incestuous act, possibly
         because seduction, passive compliance, or sexual curiosity or explora-
         tion promote such relationships” (Singer, 1979, p. 8).
     •   “Children can be broken much more easily than adults, and the effect
         on them of torture, hatred, seduction, and rape—or even of indiffer-
         ence, of deprivation of love and care—is the devastating one of devel-
         opmental arrest . . .” (Shengold, 1979, p. 537).

   Although this usage comports with the modern idea of seduction or
grooming insofar as it is to be distinguished from the use of force, threats, or
violence, we would not today distinguish seduction from rape but rather
would view seduction (or grooming) as a means of completing a rape or other
sexual offense with minimal resistance or risk of disclosure.
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    Cioffi (1976) interpreted Freud as using the concept of seduction to refer
only to nonviolent sexual assaults, writing “. . . he duly reported that he had
discovered the specific cause of psychoneurotic disorder: A passive sexual expe-
rience before puberty. In other words, a seduction” (p. 275). Cioffi’s (1976) quo-
tations of Freud in the same article support this interpretation: “Freud later
assigned to his patients in phrases like: ‘hysterics trace back their symptoms to
fictitious traumas’—or patients ‘ascribe their symptoms to passive sexual expe-
riences in early childhood’” (p. 277). Even here, however, what constitutes a
“passive sexual experience” is unclear, as it could mean the offender did not use
violence, that the child did not resist, or that the child was not an active
participant.


Archaic Usage #2: The Child as Seducer
A second archaic usage of “seduction” is to refer to the child’s tempting of the
offender. This is diametrically opposed to our current thinking about child sexual
abuse in its suggestion that it is the child who is at fault, as in these examples:

   •    “. . . [A] most striking feature was that these children were distin-
        guished as unusually charming and attractive in their outward person-
        alities. Thus, it is not remarkable that frequently we considered the
        possibility that the child might have been the actual seducer rather
        than the one innocently seduced” (Bender & Blau, 1937, p. 514).
   •    “The majority of pedophiles are harmless individuals and their victims
        are usually known to be aggressive and seductive children” (Revitch
        & Weiss, 1962, p. 78).
   •    “In many [cases] it was highly probable that the child had used his
        charm in the role of seducer rather than that he had been the innocent
        one who had been seduced . . .” (Bender & Grugett, 1952, p. 826).
   •    “Abraham (1907) and Bender and Blau (1937) have commented on
        how charming and seductive these children can be” (Rosenfeld,
        Nadelson, Krieger, & Backman, 1977, p. 332).

Three examples of authors attempting to remedy this archaic view are as
follows:

   •    “. . . Although there may be a different quality to a seduction than to an
        attack, it must be remembered that even a seductive child cannot have
        full adult comprehension of the act she is courting and cannot be
        viewed as responsible in this area” (Lipton & Roth, 1969, p. 859).
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    “Because the affectional needs of the child are not adequately met by the
parents, the child may indiscriminately relate to adults in an affection-seek-
ing manner in an effort to ensure her emotional survival.
    Numerous other investigators have characterized this behavior of the child
as ‘seductive’. However, our study indicates that this behavior is instead the
child’s often desperate attempt to meet her needs for care and attention . . .
The child’s behavior may often appear sexualized to an adult . . . As a result,
it is more appropriate to describe this behavior as affection-seeking rather
than seductive” (Johnston, 1979, pp. 948-949).

     •   “‘Everybody knows’ that adults must protect themselves from ground-
         less accusations of seductive or vindictive young people. . . . What
         everybody does not know, and would not want to know, is that the vast
         majority of investigated accusations prove valid and that most of the
         young people were less than eight years old at the time of initiation”
         (Summit, 1983, p. 178).

Conclusion
Since its introduction to the peer-reviewed professional literature in 1984,
the term “grooming” has become so widely adopted that it will remain in
widespread use for decades to come. We can and should clarify the meaning
of the term wherever possible to avoid misuse or misleading of our audi-
ences. We could benefit from prospective studies of the frequency of groom-
ing-like behaviors among adults in target-rich environments such as schools,
youth sports, and youth groups, which could help distinguish behaviors por-
tending risk from those that do not, though it would require a large sample
and a long time to reveal at least some of the offenders in the sample.
   The two archaic uses of the term “seduction” in the context of child sexual
abuse identified here are too recent and too widely known to justify completely
abandoning the term “grooming” in favor of “seduction,” even if it were possible
to do so. Perhaps the best strategy is that adopted by Lanning (2018) of explain-
ing the parallel between the courtship and mating rituals that adults use with one
another and the courtship and mating rituals that some use with children.

Declaration of Conflicting Interests
The author(s) declared no potential conflicts of interest with respect to the research,
authorship, and/or publication of this article.
Dietz                                                                                35

Funding
The author(s) received no financial support for the research, authorship, and/or publi-
cation of this article.

Note
1.   The data on which Figure 1 is based are derived from year-by-year searches
     of Google Scholar for the combination of the terms “child sexual abuse” and
     “grooming,” excluding citations and patents. One should not assume that the
     underlying database is complete or that all the publications included in the count
     use “grooming” in this way or represent peer-reviewed literature, as newsletters,
     government reports, books, and other documents also make their way into such
     searches. Nonetheless, the graph gives an adequate representation of the growing
     use of the term “grooming” for this purpose.

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Journal of Sexual Aggression
(November 2006), Vol. 12, No. 3, pp. 287 299




Sexual grooming of children: Review of
literature and theoretical considerations

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Abstract The current review aims to outline the existing understanding of sexual grooming. Issues
of poor definition, the adoption of the term ‘‘grooming’’ and the prevalence of sexual grooming will be
discussed. Consideration will be given to how prominent theories of child sexual abuse often neglect
sexual grooming. This will be followed by a detailed account of the existing knowledge within the
literature. Three types of sexual grooming were thus identified: self-grooming, grooming the
environment and significant others and grooming the child. Based on these findings, a new definition
of sexual grooming is suggested. Furthermore, the findings correspond well with current models of the
sexual offence process. A more comprehensive understanding of sexual grooming is required to facilitate
a preventative approach to child protection.
Keywords Sexual grooming; theory of child sexual abuse



Introduction
The complex nature of the tactics used by child sex offenders in their efforts to sexually abuse
children is increasingly evident in the accounts of the people affected by this predatory
behaviour. Sexual grooming is a pertinent issue evident in society, but there is still little
understanding about this phenomenon. This is reflected in problems relating to definition,
which will be discussed in addition to the evolution of the term ‘‘grooming’’. This review will
consider whether present aetiological theories of child sexual abuse can account for ‘‘sexual
grooming’’ behaviour, and further determines what knowledge has already been established
about the phenomenon of sexual grooming. Based on these findings, a new definition is
presented and consideration is given to how current knowledge of sexual grooming relate to
models of the sexual offence process.



Definition
Professionals are yet to agree on a definition of sexual grooming of children (Gillespie, 2004).
Previous literature has provided three specific definitions of grooming. The strengths and

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ISSN 1355 2600 print/1742 6545 online # 2006 National Organisation for the Treatment of Abusers
DOI: 10.1080/13552600601069414
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weaknesses of these definitions are discussed in turn below. First, O’Connell defines sexual
grooming as:
      A course of conduct enacted by a suspected paedophile, which would give a reasonable
      person cause for concern that any meeting with a child arising from the conduct would be
      for unlawful purposes. (O’Connell, 2003, p. 6)
Second, Howitt suggests that:
      Grooming . . . is the steps taken by paedophiles to ‘‘entrap’’ their victims and is in
      someways analogous to adult courtship. (Howitt, 1995, p. 176)
These two definitions are problematic, because they both refer to the term paedophile. Most
sexual offenders who target child victims use sexual grooming, not just those classified as
paedophiles. The term ‘‘paedophile’’ is a very specific clinical diagnosis, clearly not applicable
to all offenders, and the association of grooming behaviour with paedophilia may prevent
some offenders from acknowledging their own grooming behaviours. In addition, people
known to the offender may not identify the grooming behaviour because they do not consider
the individual to fit their image of a ‘‘paedophile’’. The public perception of a paedophile is
littered with stereotypes that they are ‘‘dirty old men’’ or strangers; these perceptions may
affect an individual’s judgement of whether the behaviour they have observed is grooming.
These misperceptions distract from the truth that most victims know their abuser. It is
important that the wording of a definition does not thwart the identification of sexual
grooming and the subsequent prevention or ending of abuse.
      Furthermore, the phrase ‘‘a course of conduct’’ requires subsequent definition.
Additional problems include reference to ‘‘a reasonable person’’ and ‘‘cause for concern’’.
Although legal precedent defines these phrases, they are ambiguous to the lay reader and
hence they are open to misinterpretation and confusion. These definitions are confusing, at
best, and at worst they reinforce the myth that strangers are the biggest risk to children.
Consequently, this ambiguity may hinder the identification of the full range of sexual
grooming behaviours.
      Gillespie (2002) provides the third definition:
      The process by which a child is befriended by a would-be abuser in an attempt to gain the
      child’s confidence and trust, enabling them to get the child to acquiesce to abusive
      activity. It is frequently a pre-requisite for an abuser to gain access to a child. (Gillespie,
      2002, p. 411; based on van Dam, 2001)
This definition avoids the use of the term paedophile. It also provides some clarity about the
purpose of sexual grooming behaviour and identifies some of the stages that it involves. This
appears to be the most appropriate published definition to date. Further evaluation of this
definition will follow consideration of previous literature and current understanding about
sexual grooming.



Prevalence
Canter, Hughes and Kirby (1998) provide evidence for the prevalence of the sexual grooming
phenomenon. They used Small Space Analysis on a behaviour matrix of the interaction
between 97 incarcerated child sex offenders and their victims. They identified three distinct
behaviour repertoires of offender victim interaction. The different types of offender victim
interaction acknowledged were aggressive, which was identifiable by the use of extreme
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violence, threat and force; criminal opportunist, which tended to be one-off offences on
strangers; and intimate, which was categorized by the identified use of sexual grooming
behaviours.
     Forty-five per cent of Canter et al.’s (1998) sample were classified as being intimate
offenders. Thus, 45% of the child sex offenders employed an intimate behaviour repertoire
and sexual grooming behaviours. This figure is likely to be unrepresentative of the child sex
offender population as a whole. Intimate offenders tend to cause less physical harm to their
victims than the other categories of offenders and the very nature of the behaviour used to
categorize the intimate offenders implies that they would be less likely to be reported,
identified and convicted, because these grooming behaviours are used to avoid disclosure and
conviction. Hence, it is likely that intimate offenders were under-represented in this prison
sample.
     Figures show that eight of 10 sex abuse victims know their abuser (Stop it Now, 2003). In
such cases, offenders have substantial interest in preventing disclosure, because in the event of
disclosure the victim would be able to easily identify them as their abuser. This is supported
by offenders’ accounts about the strategies they employed to victimize the children they
sexually abused; fear of disclosure affected how and when they victimized their victims
(Conte, Wolf & Smith, 1989).



Aetiology of a motivation to abuse
Before an individual begins to groom a child, some level of motivation to abuse a child needs
to be present. Furthermore, adequate theories of sexual offending should be able to account
for the phenomenon of sexual grooming. Until recently there have been three dominant
theories of child sexual abuse, namely Finkelhor’s Pre-condition Model (1984); Marshall and
Barbaree’s Integrated Theory (1990); and Hall and Hirschman’s Quadripartite Model
(1992). In 2002, Ward and Siegert proposed a more comprehensive theory of child sexual
abuse by ‘‘knitting together’’ the strengths of each of the above theories. They propose that
there are five pathways to sexual offending against children; hence, the theory is called The
Pathways Model. This review shall consider each of these only briefly, because Ward and
colleagues have already provided in-depth reviews (see Ward, 2001, 2002; Ward & Hudson,
2001). Herein, more emphasis will be placed on how these theories relate to the phenomenon
of sexual grooming.


Marshall and Barbaree’s Integrated Theory
Marshall and Barbaree’s (1990) Integrated Theory of the aetiology of sexual offending
proposes that the presence of vulnerabilities, which develop as a result of adverse early
developmental experiences, leave offenders unprepared to deal with the surge of hormones at
puberty, and unable to understand the emotional world. As a resultant, offenders satisfy their
emotional and sexual needs inappropriately in deviant ways. This theory suggests that sexual
offending occurs as a consequence of an individual’s sex and aggression drives becoming
fused, as these functions share the same structure in the brain. Ward and Siegert (2002) state
that this need not be the case, as there are many functions that are close in proximity but that
do not affect each other. Furthermore, this theory suggests that sexual offending would be
aggressive. Therefore, it would seem that it does not account for the phenomenon of sexual
grooming, because the process of sexual grooming is generally not aggressive in nature.
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However, this criticism may be countered if a definition of aggression were to include indirect
aggression, which sexual grooming could be considered to be.


Hall and Hirschman’s Quadripartite Model
Hall and Hirschman’s (1992) Quadripartite Model was first developed as a theory of rape, but
it was applied subsequently to child sexual abuse. This model suggests that someone commits
an act of child sexual abuse because of four vulnerability factors and the presence of
opportunity. The vulnerability factors are physiological sexual arousal, distorted cognitions
that act to justify sexual aggression, affective dyscontrol, and personality problems. It is
suggested that offending will occur when the presence of these vulnerability factors exceed a
threshold, this could include one or all of these vulnerabilities. There are several problems
with this model; first, it does not explain why someone chooses to offend against a child rather
than an adult. Second, sexual grooming is not an impulsive act and the threshold would need
to be maintained over a long period of time in order to explain sexual grooming, because it
can occur over weeks, months or even years. Hence, this theory can account for sexual
grooming if it is accepted that, for example, sexual arousal persists over long periods of time,
so once sexually aroused to children/child the offender would be continually aroused to them.
A further problem with this theory relates to the presence of opportunity; offenders often
create their own opportunities to offend.


Finkelhor’s Pre-condition Model
Finkelhor’s Pre-condition Model (1984) suggests that there are four pre-conditions to sexual
offending. The first is the motivation to sexually abuse; it is suggested that this develops as a
result of emotional congruence (a fit between the offender’s emotional needs and the child’s
ability to meet them), deviant sexual arousal and blockage (the sexual needs of the offender
not being met by appropriate adults). The second is to be able to overcome internal inhibitors;
the third is to be able to overcome external inhibitors; and the fourth is to overcome the child’s
resistance. Before an incidence of abuse would take place, these pre-conditions need to be
satisfied. Although Finkelhor does not use the term sexual grooming, others (e.g. Morrison,
Erooga & Beckett, 1994; Sampson, 1994) have reviewed his work using this term. They
referred to overcoming the child’s resistance as grooming.


Ward and Siegert’s Pathways Model
Ward and Siegert’s (2002) model is based on the dysfunction of one or more psychological
mechanisms *emotional regulation, intimacy deficits, cognitive distortions and sexual
arousal (deviant sexual scripts). All the aforementioned psychological mechanisms are
involved to some degree. There is evidence of these dysfunctional mechanisms being present
typically in child molesters, although to different degrees and for different functions. The five
possible pathways are specified by whichever dysfunctional psychological mechanism is the
most dominant; in turn this will affect the others. In the case of the fifth pathway, all the
psychological mechanisms would be similarly dysfunctional. A sexual offence occurs when the
above is present in conjunction with sexual need. In addition, Ward and Siegert still
emphasize the importance of there being an opportunity to offend; however, the nature of
sexual grooming is to create an opportunity to offend. Successful theory would need to
account for this.
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       Despite Ward and Siegert presenting their Pathways Model as a comprehensive theory of
sexual offending, it still only considers aetiology and no consideration is given to the offence
process. In a comprehensive theory it is necessary to consider the whole journey from initial
onset to the offence and beyond. In a similar way that the Transtheoretical Model (Prochaska &
DiClemente, 1982) of change considers not only the action stage, where the overt behaviour is
changed, but also the precontemplation, contemplation, preparation and maintenance stages, a
theory of sexual offending against children needs to consider the whole journey. As
demonstrated above, it is necessary that theories of aetiology are coherent with the
phenomenon they are attempting to explain. While endeavouring to explain sexual offending
it is important that sexual grooming is also factored into the equation, because it is part of the
sexual offending phenomenon. Of the above theories, only Finkelhor’s (1984) Pre-condition
Model has taken this approach.


Offence process
In addition to the Pre-condition Model (Finkelhor, 1984) there is one other model that
considers the offence process of sexual offending. This is the Descriptive Model of the
Offence Chain (Ward, Louden, Hudson & Marshall, 1995). Ward et al.’s model provides a
much more detailed account of the offence process than the Pre-condition Model. While little
evidence has been found to support Finkelhor’s Pre-condition Model, Ward et al. used a
grounded theory approach and developed their model directly from offenders’ experiences.
They identified nine stages of the offence chain. Stage one relates to the offender’s
background factors, including their perception of themselves and their life at the beginning
of the offence chain and whether these factors caused positive or negative affect. Stage two
describes distal planning of access to their victim; this could take the form of implicit, or
explicit planning or chance. Contact with the victim takes place in stage three. Stage four
involves cognitive restructuring, which will result in either positive or negative affect. Stage
five entails proximal planning, which would either be self-focused, victim-focused or a
mutual-focus. This leads to stage six and the sexual offence, which is followed by further
cognitive restructuring at stage seven. This results in negative or positive evaluation and future
resolutions regarding continued offending at stage eight. This resolution will be to either avoid
future offending or to persist in an abusive pattern. Stage nine depicts the impact of these
resolutions on the offender’s life.
     It is important to consider how sexual grooming fits into, and facilitates, the offence
process, as this understanding is likely to aid the management of offenders and potential
offenders by identifying the offence process prior to an sexual offence taking place. In
addition, it is reasonable to suggest that motivation is not static but could be affected by later
stages of the grooming and offence process, e.g. cognitive distortions developed later in the
process could serve to reinforce prior motivation resulting in an entrenched deviant sexual
interest. This may prove valuable to treatment programmes efforts of reducing motivation to
offend.


The grooming process
The current review has identified three types of sexual grooming present in the literature *
self-grooming, grooming the environment and significant others and grooming the child.
Each of these will be discussed to explore current understanding of sexual grooming.
Understanding of the grooming process and an ability to identify sexual grooming behaviour
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is crucial in order to prevent child sexual abuse. However, retrospective identification of
sexual grooming, i.e. after a sexual offence has been committed, is much easier than
prospective identification, i.e. before a sexual offence. Nevertheless, the latter is necessary in
order to prevent the sexual abuse from taking place. The reason for this is because the
behaviours used to groom a child for sexual abuse are not dissimilar to innocent behaviour
intended to broaden a young person’s experiences. The only difference may be the motivation
underlying the behaviour.


Self-grooming
van Dam (2001) reports that during treatment, offenders’ talk about ‘‘grooming themselves’’.
They were referring to the justification or denial of their offending behaviour. It therefore
seems important to consider this as part of the grooming process. However, it may be more
agreeable to refer to this phenomenon by another name, avoiding the use of the term
‘‘grooming’’. Nevertheless, self-grooming is likely to play a part in the move from being
motivated to sexually abuse a child to the subsequent targeting of a child, through the
justification or denial of the steps child sexual offenders take towards abusing a child.
Furthermore, self-grooming is likely to be affected by the response from the community and
the child, and the success or failure of the efforts to victimize the child. ‘‘Success’’ is likely to
result in further justification or denial of their actions and more entrenched sexual interest in
children and motivation to offend. ‘‘Failure’’, on the other hand, is likely to result in the
desistence of offending or the offender developing/enahancing his skills/strategies to ensure
success.
      Justification and denial of offenders’ behaviour manifests in cognitive distortions. Ward
and Keenan (1999) propose that child sex offenders have cognitive distortions in the form of
implicit theories, which relate to themselves, the victim and the world. Implicit theories help
individuals to understand the world around them. Problems arise because offenders’ implicit
theories are maladaptive and supportive of sex with children. These implicit theories
subsequently affect encoding and interpretation of future behaviours and events. Ward and
Keenan have identified five implicit theories that account for most of the cognitive distortions
held by child sex offenders: children as sexual objects; entitlement; dangerous world;
uncontrollability; and nature of harm.
      Of course, it is not only offenders who have maladaptive implicit theories. For example,
many people have an implicit theory that children are at most risk from strangers, which is not
consistent with research findings. However, it is easier to believe that strangers sexually abuse
children than accept that friends and family do; hence, this implicit theory helps to shelter
people from the harsh nature of reality. Offenders’ implicit theories work in a similar way,
because it is easier for offenders to believe that the child seduced them than to accept that they
sexually abused a child.


Grooming the environment and significant others
Grooming the child begins with identifying a vulnerable child (van Dam, 2001). Child sex
offenders seem to have a special ability in recognizing vulnerable children (Conte et al., 1989).
These vulnerabilities may be that the children have a poor relationship with their parents, do
not have many friends (Berliner & Conte, 1990), or have already been victimized (Leberg,
1997). Alternatively, offenders may target women who were sexually abused as children,
because the offender considers them easier to re-victimize.
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     In order to gain access to their victim(s), offenders groom the environment and their
potential victim’s significant others (e.g. parents, carers, teachers, etc). This may mean the
offender integrating themselves into society and places where they are likely to meet children.
This will often be a position of trust. Offenders then begin grooming the adults in this
community, specifically those who are significant to their potential victim, with the aim of
creating an opportunity to access and abuse a child or children. van Dam (2001) reports that
offenders are frequently charming, very helpful, and have insider status. This is often an
important factor in gaining access to potential victim(s). As offenders help out in the
community, they are considering how their efforts will be rewarded later when they can then
abuse the children in that community. Offenders are often able to ‘‘read the community like a
book’’ in that they assess what they ‘‘need’’ and fulfil these needs accordingly (Hare & Hart,
1993). They can make themselves indispensable, too good to be true and will freely undertake
jobs that others do not want to do (Leberg, 1997).
     A desire on the part of parents to avoid cognitive dissonance may assist offenders’
grooming efforts. A parent may suffer cognitive dissonance as a result of concerns about the
trustworthiness of the offender alongside their hospitality and acceptance of the offender.
When thoughts do not match behaviour, cognitive dissonance manifests, and often thoughts
are changed to be consistent with behaviour (van Dam, 2001). Thus, offenders gain insider
status long before they start abusing a victim (van Dam, 2001). Grooming is therefore a well-
organized long-term activity (Sanford, 1982). Offenders groom the community so well that if
a victim discloses their abuse, the community may support the offender rather than the victim,
because they deem the offender to be more believable than the child.
     In the case of intrafamilial child sexual abuse, offenders are already in a position of trust
and integrated in an environment where they can access potential victims. Some offenders
groom the environment by targeting single-parent families to gain this status (Elliott, Browne
& Kilcoyne, 1995). Offenders may do this because they believe that these children are more
vulnerable and because they believe it will be easier to create opportunities to be alone with
the child. Alternatively, offenders may target children or young people who have absent
parents, and hence have less protection. In this incidence there is no need for the offender to
groom the parents. They can become the child’s friend and more easily arrange to have time
alone with the child.
     Intrafamilial offenders often isolate the victim from their non-abusing parent, siblings
and the outside world by developing an exclusive relationship with the child. For instance,
they may encourage mothers to have more of a life outside the home, which then gives
themselves increased opportunities to abuse their victims. Alternatively, they may isolate non-
abusing parents from the outside world in order to prevent them from having people in whom
to confide about any concerns (Leberg, 1997). Some offenders encourage mothers to develop
an alcohol dependency, in part so that any future disclosures made lack credibility (Leberg,
1997). Other similar strategies employed to limit credibility include questioning the mother’s
parenting ability in front of friends and other family members. This may constitute part of
their strategy for grooming the environment and significant others.
     Grooming the environment and significant others can occur as a result of implicit or
explicit planning; alternatively, access to a child may occur by chance. Ward and Hudson
(2000) have developed a conceptual model of how child sex offenders’ implicit planning or
seemingly unimportant decisions (SUDs) implicate their offending behaviour by leading them
to high-risk situations, i.e. contact with children. This appears to be automatic, because
although offenders are conscious of their specific behaviours, they are often unconscious of
the effect of implicit goals on these behaviours.
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     Gollwitzer and Schaal (1998, cited in Ward & Hudson, 2000) suggest that it is through
automatic goal-dependent action plans that these SUDs manifest. Ward and Hudson (2000)
propose that there are two such action plans: offence scripts and mental simulations. Offence
scripts manifest as a result of associations that have developed between situations and
behaviours; subsequently, in the presence of certain cues, offence scripts may be activated
without any conscious awareness. This is a possible explanation of continued offending and
relapse following treatment.
     Automatic goal-dependent action plans can be activated regardless of whether an
individual has committed any previous sexual crimes. This alternative involves mental
simulation. Mental simulation is where an individual plans out in detail how he would commit
an offence. As with offence scripts, the presence of certain cues may activate this implicit
planning, resulting in the enactment of the individual’s fantasies. The notion of im-
plicit planning may provide a possible explanation why the majority of victims know their
abuser, because the cues that activate the implicit planning are more likely to be present within
the family or in relation to children in the immediate locality (i.e. the places where an individual
spends the majority of his time).
     It is reasonable to suggest that the fundamental human need to belong may present one
possibility to further understand offenders’ ability to identify a victim and groom the
environment and significant others. Research has shown that a need to belong can affect very
basic cognitive functions, e.g. attention and encoding of social information (Pickett, Gardner
& Knowles, 2004). Pickett et al. found a positive relationship between a need to belong and
sensitivity to social cues. Sexual offenders often come from neglectful, violent and
dysfunctional backgrounds (Craissati, McClurg & Browne, 2002). This environment is
unlikely to provide an abundance of opportunities for emotional closeness and thus offenders
are likely to have a need to belong. In addition, a need to belong is related to low self-esteem
(Pickett et al., 2004) and research to date suggests that child sex offenders typically have low
self-esteem (Marshall, Anderson & Champagne, 1997). This is supportive of the idea that a
need to belong facilitates offenders’ identification and access to a victim, because of the
associated increased sensitivity to social cues. Children may be approached because the
offender perceives them to be less threatening than peers. Alternatively, offenders may be able
to identify vulnerabilities in other people because they themselves are vulnerable and thus
recognize these signs in others. This explanation would relate to offenders that commit
offences following implicit planning. Offenders using explicit planning may also have a need
to belong and the associated increased sensitivity to social cues, as a result of a need to belong
to the family of community in order to groom and subsequently abuse a child. It is therefore
suggested that, in the presence of a motivation to sexually abuse a child, a need to belong
often facilitates the identification of a victim and grooming of the environment and significant
others.


Grooming the child
Grooming the child is the most commonly recognized form of sexual grooming. In addition to
a desire for sexual gratification, there may or may not be a relational aspect to the grooming
process, depending on the offender’s motivation to abuse. Sexual grooming has been
considered by some to be analogous to adult courtship (e.g. Howitt, 1995). In addition,
Herman (1981) and Christiansen and Blake (1990) talk about sexually abusive fathers
adopting the role of suitor towards their daughter. In the case of intrafamilial abuse, the
offender promotes the child in place of the mother (Leberg, 1997). Alternatively, the offender
may interact with the child on the child’s wavelength (van Dam, 2001). Wilson (1999) found
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that offenders who abused boys showed a preference for interacting at the child’s level, and
incest offenders tended to raise the victim’s status to that of an adult, while offenders who
abused girls were more concerned with sexual gratification. The types of behaviour that
constitute grooming the child take two different forms *physical and psychological.
      Physical grooming involves the gradual sexualization of the relationship between the
offender and the victim (Berliner & Conte, 1990). Psychological grooming is used to achieve
this increased sexualization. At first, the offender may justify the sexual behaviour through
providing the child with his version of sex education, which states that sex between children
and adults is acceptable and that the offender has a responsibility to train the child for later
life (Berliner & Conte, 1990; Leberg, 1997). The abuser builds the child’s trust (Christiansen
& Blake, 1990; Leberg, 1997; Wyre, 1987, cited in Howitt, 1995; van Dam, 2001), makes
him or her feel good (Warner, 2000) and then starts to violate boundaries (Christiansen &
Blake, 1990; van Dam, 2001). This may involve intentionally entering the bedroom while the
child or young person is undressed, or getting dressed together and exposing himself to the
child.
      Offenders often desensitize a child to touch by beginning with non-sexual touching such
as tickling or stroking the child’s head. Conversation may also become more sexual.
Alternatively, offenders may confuse victims by continuing to talk to the child about a
positive unrelated issue while they begin touching the child sexually (Leberg, 1997). The child
may have no idea that something inappropriate is happening. The aim is to progress to sexual
touching, first on top of clothes and later under or without clothes (Berliner & Conte, 1990;
Christiansen & Blake, 1990; Leberg, 1997; van Dam, 2001). Thus, the intention is to make
the child compliant with the offender’s sexual demands and overcome the child’s resistance
(Finkelhor, 1984; Leberg, 1997; Warner, 2000).
      In addition to using psychological grooming to increase compliance, it is also used to
avoid disclosure. Children are groomed to want to be around the adult who is grooming them
(Wolf, 1985). Offenders need to maintain the child’s cooperation and secrecy to achieve this.
One way that the offender does this is by isolating the child and alienating them from others
(Warner, 2000). Leberg (1997) refers to this factor as something separate from grooming,
others (e.g. van Dam, 2001) consider it to be part of the grooming process. Isolating the child
creates a barrier which prevents the child from having a confidant in whom to disclose
(Warner, 2000). In addition, the keeping of secrets acts as a source of further isolation
(Lerner, 1993, cited in van Dam, 2001). Children are very good at keeping secrets when
asked to. Peters (1991, cited in Ceci & Bruck, 1993) found that 82% of children in his study
delayed or did not report an event that they had witnessed, because the thief in the scenario
asked them not to tell anyone. The thief in this scenario was a stranger, to whom the children
had no loyalty, and so it is likely that children would be even more likely to protect a known
and loved adult.
      Further strategies used by offenders to maintain the child’s compliance include issuing
threats and bribes (Berliner & Conte, 1990; Christiansen & Blake, 1990). Bribes may take
the form of material gifts or extra privileges (Christiansen & Blake, 1990). In addition,
offenders are skilled at using children’s natural vulnerabilities against them. For instance,
children very often have a strong desire to protect their parents. When the offender informs
them that their parents would be very hurt if they found out what they had been doing,
children may remain silent (Berliner & Conte, 1990). Offenders may also demonstrate their
potential for violence through violence towards others, e.g. other family members. Thereby
offenders reinforce the message that they will enact their threats about hurting the child
and/or the child’s family.
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      Offenders frequently make the child feel responsible for the abuse (Leberg, 1997; van
Dam, 2001; Warner, 2000). They convince the child that they are to blame for letting the
abuse happen and that they should have stopped it (Leberg, 1997). This is reinforced by
stereotypes in society, which emphasize that men cannot control their sex drive (Warner,
2000). Additional guilt may be felt if the child has been made to perform sexual acts on the
abuser or another child (Warner, 2000). However, this feeling of responsibility and guilt is
overshadowed by the self-betrayal the child feels as their body reacts to sexual stimulation
against their will (Warner, 2000) which children may interpret as evidence that they are
enjoying themselves. This is internalized and resultantly may have an impact on the child’s
developing identity. Disclosure is avoided because the child feels that it is ‘‘all their fault’’, that
he/she is bad and that no one will believe them (Warner, 2000).
      Each victim’s experience of grooming is different, because offenders adapt their strategies
dependent on the child, whose response during the grooming process is important. It seems
reasonable to suggest that offenders require some level of ‘‘empathy’’ during the grooming
process to recognize reactions in the child, so that they can adapt their strategy accordingly.
For example, during the desensitization process an offender would need to recognize the
limits of the victim and to strategically increase those limits. It is proposed that empathy
involves four components: (1) emotion recognition; (2) perspective-taking; (3) emotion
replication; and (4) response decision (Marshall, Hudson, Jones & Fernandez, 1995).
Continuing with the previous example, offenders recognize the distress in their victim and
make a decision based on this, because they choose to stop temporarily as a strategic part of
the desensitization process. Thus, offenders appear to have ability in components (1) and (4),
which are the cognitive components, but not in the affective components (2) and (3). While
early research on empathy in sex offenders concluded that they have empathy deficits, more
recent research has found that this empathy deficit to be victim-specific (Fernandez, Marshall,
Lightbody & O’Sullivan, 1999; Marshall, Hamilton & Fernandez, 2001; Marshall et al.,
1995). This is inconsistent with the suggestion that the grooming process requires some level
of empathy. However, Fernandez et al. (1999; Marshall et al., 2001) provide a possible
explanation for this. They suggest that victim-specific empathy deficits manifest as cognitive
distortions, which protect the offenders from negatively evaluating themselves, thus allowing
them to continue abusing a child. Based on this suggestion, victim-specific empathy deficits
arise as a consequence rather than a cause of the abuse. These cognitive distortions therefore
facilitate self-grooming.
      The manifestation of a cognitive distortion relating to a victim-specific empathy deficit
may be facilitated by cognitive deconstruction. Cognitive deconstruction (see Ward, Hudson
& Marshall, 1995) is a state entered into to escape negative experiences and negative self-
evaluation. Cognitive deconstruction involves processing at a lower, more concrete, level, i.e.
muscular movements, and rewards of behaviour, rather than social action. Resultantly, the
individual has much more focus on feelings of pleasure and less awareness of the
consequences of his behaviour. This concrete-level focus may reinforce cognitive distortions
such as victims enjoyed the abuse because they became physically aroused, which justifies the
offender’s lack of empathy toward their victim.
      Self-grooming, grooming the environment and significant others, and grooming the child
are relevant to situational and preferential offenders, extra-familial and intrafamilial offences.
It is important that the different types of sexual grooming apply to these different typologies
and classifications of offenders because sexual grooming is not used solely by one group of
offenders and, furthermore, these categories are not mutually exclusive (Itzin, 2001).
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Towards a new definition of sexual grooming of children
The definitions of sexual grooming presented at the start of this review do not reflect the
complexity of the sexual grooming of children, which is demonstrated in the previous
discussion of the different types of sexual grooming. Based on the above findings it seems
necessary to provide a new definition that attempts to encapsulate the complexity of sexual
grooming, while still being easy to understand. We propose the following:

    A process by which a person prepares a child, significant adults and the environment for
    the abuse of this child. Specific goals include gaining access to the child, gaining the
    child’s compliance and maintaining the child’s secrecy to avoid disclosure. This process
    serves to strengthen the offender’s abusive pattern, as it may be used as a means of
    justifying or denying their actions.


Conclusion
Despite the wide acceptance of the term, sexual grooming of children is not understood
clearly, particularly in the public domain. Testimonies from both victims and perpetrators
highlight the pertinence of the problem. Furthermore, the government in England and Wales
has introduced legislation in the Sexual Offences Act 2003 regarding ‘‘meeting a child
following sexual grooming’’ (see Part 1: section 152003). A greater understanding of the
meaning, elements and process of sexual grooming is required to effectively utilize this
legislation (for review see Craven, Brown & Gilchrist, in press).
      Regardless of the prevalence and pertinence of sexual grooming, most aetiological
theories of child sexual abuse neglect the phenomenon. The main reason for this is likely to be
because prominent theories of child sexual abuse were devised more than 10 years ago, at a
time when sexual grooming was not recognized as it is today. Therefore, it is necessary that
theories be reconsidered based on this recent awareness. Ward (2001, 2002; Ward & Hudson,
2001; Ward & Siegert, 2002) has begun the process of theory knitting and development.
While Ward and Siegert’s Pathways Model is able to account for sexual grooming, it still
focuses on the presence of opportunity rather than explicitly recognizing that offenders often
create their own opportunities to offend.
      The current review has identified three types of sexual grooming discussed in the
literature: self-grooming, grooming the environment and significant others and grooming the
child. Based on these findings an alternative definition has been suggested, which includes
details about offenders’ objectives, e.g. gaining access to a child, gaining the child’s
compliance, maintaining secrecy and avoiding disclosure.
      A fuller understanding of sexual grooming is required. Consideration needs to be given to
offender victim interaction (before, during and after the offence), micro behaviours that may
indicate to significant adults that a child is being sexually groomed, or indeed that they
themselves are being groomed by an offender, and the seemingly impossible task of proving
beyond reasonable doubt that the ambiguous behaviour of sexual grooming is sexually
motivated. This would provide many benefits to child protection and the policing and
treatment of child sex offenders with a specific focus on prevention of child sexual abuse
rather than reactive responses to it. To optimize the impact of acquired knowledge and
understanding, it is necessary to consider how these findings are disseminated to the relevant
groups involved with children, e.g. parents, police, and social workers.
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